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                               UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF LOUISIANA

 HUMPHREY et al.,

                 Plaintiffs,
                                                      Civil Action No. 3:20-cv-0233-JWD-SDJ
 v.

 LEBLANC,

                 Defendant.


                               MOTION FOR LEAVE TO WITHDRAW

       Plaintiffs, by and through the undersigned attorney, seek leave of this Court to withdraw

attorney Stephen H. Weil as counsel for Plaintiffs. In support thereof, Plaintiffs state as follows:

       1.         Mr. Weil’s employment with Loevy & Loevy, the firm representing Plaintiffs,

has concluded.

       2.         Plaintiffs continue to be represented by the following attorneys from Loevy &

Loevy: Michael Kanovitz, Maria Makar, and Margaret Gould.

       3.         Additionally, Plaintiffs will continue to be represented by Mercedes Montagnes,

Samantha Nicole Bosalavage, Claude-Michael Comeau and Lydia Wright of The Promise of

Justice Initiative and William Most of the Law Office of William Most, LLC.

       4.         Due to the continuity of the attorneys from Loevy & Loevy representing Plaintiff,

no party will be prejudiced if Mr. Weil is permitted to withdraw his appearance.

       5.         Pursuant to LR 83(b)(13), attorney Stephen H. Weil certifies that consent has

been sought for the relief requested in this motion and affixes his signature below.

       WHEREFORE, Plaintiff respectfully requests the Court enter an order permitting Stephen

H. Weil to withdraw his appearance as counsel in this matter.
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                                           Respectfully Submitted,

                                           /s/ Maria Makar
                                           Maria Makar
                                           Loevy & Loevy
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                                           (312) 243-5900

Samantha Nicole Bosalavage,
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                              CERTIFICATION OF CONSENT

       I, Stephen H. Weil, certify that I am no longer an employee with Loevy & Loevy, one of

the firms representing Plaintiffs, and provide my consent for the relief sought in this motion.



                                                     _/s/ Stephen H. Weil
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                                CERTIFICATE OF SERVICE

       I, Maria Makar, an attorney, hereby certify that on October 7, 2024, I filed the foregoing
motion using the Court’s CM/ECF system, which effectuated service on all counsel of record.


                                                     /s/ Maria Makar
                                                     One of Plaintiffs’ Attorneys
